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                                    #:2092


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 7   Attorneys for Defendant Lori Pozuelos
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12
     JEFF T. GRANGE, M.D.,                        5:22-cv-00340 DSF (AGRx)
13
                                     Plaintiff, STIPULATION FOR DISMISSAL
14                                              WITH PREJUDICE PURSUANT
                  v.                            TO FEDERAL RULE OF CIVIL
15                                              PROCEDURE 41(a)(1)(A)(ii)
16   LORI POZUELOS AND JASON                  Courtroom: 7D
     WESSELY,                                 Judge:        The Honorable Dale S.
17                                                          Fischer
                                  Defendants. Trial Date: None
18                                            Action Filed: 2/24/2022
19
          IT IS HEREBY STIPULATED by and between Plaintiff Jeff T. Grange, M.D.,
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     by and through his counsel, and defendant Lori Pozuelos, by and through her
21
     counsel, that the above-captioned action be and hereby is dismissed, in its entirety,
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     against all defendants with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).
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                                     #:2093


 1   Dated: February 28, 2025                       Respectfully submitted,
 2                                                  ROB BONTA
                                                    Attorney General of California
 3                                                  DONNA M. DEAN
                                                    Supervising Deputy Attorney General
 4
 5
                                                    /s/ Molly S. Murphy
 6                                                  MOLLY S. MURPHY
                                                    Supervising Deputy Attorney General
 7                                                  Attorneys for Defendant Lori
                                                    Pozuelos
 8
 9
10         I attest that all other signatories listed, and on whose behalf the filing is
11   submitted, concur in the filing’s content and have authorized the filing pursuant to
12   L.R. 5-4.3.4(a)(2).
13   Dated: February 28, 2025                       Respectfully submitted,
                                                    ROB BONTA
14                                                  Attorney General of California
                                                    DONNA M. DEAN
15                                                  Supervising Deputy Attorney General
16
17                                                  /s/ Molly S. Murphy
                                                    MOLLY S. MURPHY
18                                                  Supervising Deputy Attorney General
                                                    Attorneys for Defendant Lori
19                                                  Pozuelos
20
21   Dated: February 28, 2025                       Respectfully submitted,
22                                                  LARSON LLP
23
24                                                  /S/ Daniel Lahana
                                                    DANIEL LAHANA
25                                                  Attorneys for Plaintiff Jeff T. Grange,
                                                    M.D.
26
27
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